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Correlation of Drug Levels and
Outcomes in Phase III New Oral
 Anticoagulant (NOAC) Trials

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                             Outline
• Overview of oral anticoagulants

• NOAC pharmacokinetics and pharmacodynamics

• Phase III NOAC trials
   – Design and data collection
   – Dose- and exposure-response observations



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               Oral Anticoagulants
• Four oral anticoagulants approved for the prevention of stroke
  and systemic embolism in patients with non-valvular atrial
  fibrillation
    – Vitamin K antagonists: warfarin
         • Monitoring (INR), variable PK/PD, hemorrhagic stroke
    – Direct thrombin inhibitors: dabigatran
    – Direct factor Xa inhibitors: apixaban, rivaroxaban, edoxaban

• All drugs in this class have an on-target balance between
  efficacy/safety



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                          Characteristics of NOACs
                             Dabigatran             Apixaban           Rivaroxaban            Edoxaban
  Mode of action           Direct inhibition     Direct inhibition   Direct inhibition of   Direct inhibition
                             of thrombin             of FXa                  FXa                of FXa
  Bioavailability              0.03-0.07                0.5               1.0 (fed)               0.62
  Tmax                        1 h (fasted)             3-4 h                2-4 h                1-2 h
  Metabolism                   < 10 %                  25 %                50 %                < 10 %
                             conjugation              CYP3A               CYP3A             CES-1, CYP3A
  Transporter                                      P-gp, BCRP           P-gp, BCRP
                            P-gp substrate                                                  P-gp substrate
                                                    substrate            substrate
  Elimination                Renal / 80 %         Renal / 27 %         Renal / 36 %          Renal / 50 %

  Elimination half life         12-17 h                12 h               11-13 h               10-14 h
  Dose
                              10-400 mg             2.5-10 mg             PJ             10-150 mg
  proportionality
  BSV (% CV)                    40-60%                 30%                  30%                  20%
  WSV (%CV)                      40%                   20%                  20%                  25 %
  Accumulation               100% (BID)            100 % (BID)          < 10% (QD)            14 % (QD)
Dabigatran USPI, Apixaban USPI, Rivaroxaban USPI, Edoxaban USPI                                              4
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    Characteristics of Phase III Studies with
                 NOACs for AF
• 10,000+ patient trials with on-treatment times of ~3 years
• Active control arm – warfarin
• Prospective dose adjustments based on intrinsic/extrinsic factors
• One or two active treatment arms
    – DCRP requested evaluation of multiple doses in all Phase III
      programs based on Phase II study results
• PK and PD sampling in 0-90% of the population
    – DCRP requested sampling in a majority of the population
• Data collection limits interpretation of the study results
    – exposure-response analyses/balance between risk-benefit
                                                                                5
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                      Dabigatran: RE-LY
• Non-inferiority study, open label with respect to warfarin
  and blinded with respect to two doses of dabigatran (110
  and 150 mg BID)

• ~18,000 subjects randomized (1:1:1)

• Primary endpoint: stroke and systemic embolic events
  (SEE)

• Population: non-valvular atrial fibrillation at high risk of
  stroke, warfarin naïve and non-naïve patients

• Steady-state dabigatran concentrations obtained in 8441
  subjects receiving dabigatran at Month 1 visit         6
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  Dabigatran 110 mg: Non-inferior efficacy, fewer bleeds
    Dabigatran 150: Superior efficacy, similar bleeds
                          Stroke/SEE                                        Major Bleed



Dabigatran 110 mg



Dabigatran 150 mg




                    0.0     0.5      1.0      1.5      2             0.0     0.5      1.0      1.5   2

                                  HR (95% CI) of Dabigatran vs. Warfarin                                 7
Adapted from FDA’s Cardiovascular Renal Advisory Committee Meeting for Dabigatran, Slide 5 and 25
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   Dabigatran Exhibits Concentration Dependent Relationship
         on Ischemic Stroke & Life-Threatening Bleeds
                        Dabigatran: RE-LY Trial
                                        110 mg
                                                      150 mg




      • Warfarin also has a similar relationship based on INR
                                                                                              8
Adapted http://www.accessdata.fda.gov/scripts/cder/drugsatfda/
        from FDA’s Cardiovascular Renal Advisory Committee Meeting for Dabigatran, Slide 56
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           Edoxaban: ENGAGE AF-TIMI 48
• Non-inferiority study, blinded with respect to warfarin and
  blinded with respect to two doses of edoxaban (30 and
  60 mg QD)

• ~21,000 subjects randomized (1:1:1)
• Primary endpoint: stroke and systemic embolic events
  (SEE)

• Population: non-valvular atrial fibrillation at high risk of
  stroke, warfarin naïve and non-naïve patients

• Steady-state/post-dose edoxaban concentrations
  obtained in ~13000 subjects receiving edoxaban at
  Month 3 visit and at Month 9 visit                                           9
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                    Dose Response Is Evident
                For Stroke & Major Bleeding Events




   mITT population,
  on-treatment events                                                                     10
Adapted from FDA Cardiovascular Renal Advisory Committee Meeting for Edoxaban, Slide 48
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 Patients with Normal Renal Function and 60 mg Edoxaban
   had a Higher Risk for Stroke/SEE Relative to Warfarin
      Renal Function Category                 Hazard Ratio (95% CI)               Hazard Ratio (95% CI)
      Stroke/SEE




     Major Bleeds




                                  Edoxaban Better                 Warfarin Better

                                                                                                             11
 Applicant:
Adapted fromCSR
             FDAU-120, Table 11.2,Renal
                 Cardiovascular    Edoxaban   60 mg;
                                        Advisory     CSR U-301,
                                                 Committee      Tables
                                                           Meeting  for14.2.5.2,
                                                                        Edoxaban,14.5.3.24,
                                                                                   Slide 45 Edoxaban 60 mg
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  Edoxaban Exhibits Concentration Dependent Relationships
     for Ischemic Stroke & Life-Threatening/Fatal Bleeds

                              30 mg

                                               60 mg




     Analysis shown for “typical” patient population: Age: 72 years old, Renal Function: (70.4 mL/min),
     28.3% with prior stroke, 29.2% with baseline aspirin use.
                                                                                                    12
Adapted from FDA Cardiovascular Renal Advisory Committee Meeting for Edoxaban, Slide 51
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              Rivaroxaban and Apixaban

• Sizeable trials evaluating one dose level versus warfarin
   – Apixaban: 5 mg BID (dose reduction to 2.5 mg BID)
   – Rivaroxaban: 20 mg QD (15 mg QD for CrCL 30-50 mL/min)


• Limited PK sampling during study

• Relationships identified between drug
  exposure/coagulation markers and major bleeding rate

• Insufficient information to characterize the relationship
  between drug levels and efficacy                                             13
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                  Intermediate Thoughts
• Multiple NOACs have been evaluated and approved over the
  past 5 years

• Major driver was development of therapeutics without a need
  for routine monitoring associated with warfarin use

• All NOACs have underlying balance between efficacy and
  safety events, however, the ability to understand the
  relationships are impacted by
   – Dose-ranging in Phase II/III
   – Populations evaluated and metrics used for Phase III dose selection
   – Number of doses carried forward into Phase III
   – PK/PD sampling in Phase III

• All trials have passed NI, but does it reflect optimal use?
                                                                                  14
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                     Warfarin: Balance Between
               Ischemic Stroke and Intracranial Bleeding




                                                  Intracranial Bleed



                                                               Ischemic Stroke




                                                                                                       15
Source: ACC/AHA/ESC 2006 Practice Guidelines for the Management of Patients with Atrial Fibrillation        15
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                   Dosing for NOACS
                  What Is So Unusual?
Getting the dose right is critical and often challenging:
   • Steep exposure-response relationships
   • Serious consequences of being either too low or too
      high – may occur without warning and may be
      delayed
   • Variable blood levels (renal function, weight, drug-
      drug interactions, unexplained intra-patient variability)
      – a problem when C/R relationships are steep


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                  Finding the Way
The data collected in the Phase 3 studies of
dabigatran and edoxaban can inform a foundation
for next steps:
1. Each study included 2 doses, giving a wide
    range of blood concentrations and anti-
    coagulant effects.
2. This allowed calculation of the concentration-
    response relationships for benefit (reduced
    stroke) and risk (bleeding).
                                                                               17
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    Dosing Strategies for Drugs Based on
           Sources of Variability
                           Between Subject Variability (subject to subject)

                                  Low                         High
                                                 • If factors are known, adjust
                                                   based on factors
 Within
                Low        • Fixed dosing
                                                 • If factors are unknown,
 Subject
Variability                                        single point measurement
                                                   and dose adjustments
(dose to                                         • Adjustments based on
 dose in                                           factors and monitoring
  same                     • Scenario              would be necessary
subject)        High         doesn’t exist (?)
                                                 • Variability may be so high
                                                   that it is not practical   18
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                     Selection of a target window based on
                          balance of benefit and risk




                                                                                                19
Reilly et al, 2014
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How do we keep patients in the target range of exposure?
                 Density (Proportion)




                                        Concentration
 • Population dose adjustment for patient factors
 • Dose adjustments based on concentration or
   pharmacodynamic measurements
                                                                                20
 • Combination of the two approaches
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                       Summary (1)
• Getting the dose of anticoagulants right is very
  important but often not easy

• Available concentration-response data for
  dabigatran and edoxaban might be used as a
  basis for dose adjustment schemes based on renal
  function or drug concentrations
   – Pharmacodynamic-based dosing might also be
     feasible

                                                                                21
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                      Summary (2)
• However it is important to consider …

  – What patient factors contribute to drug variability

  – What may be practical limitations based on drug
    within-patient variability

  – One‘s ability to maintain patients in a target
    window
                                                                               22
